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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

  COLONEL FINANCIAL MANAGEMENT
  OFFICER, et al.,
                           Plaintiffs,
                                                      Case No. 8:22-cv-1275 (SDM/TGW)
        v.
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                           Defendants.

                             NOTICE OF CONFERRAL


        In accordance with the Court’s Order dated Dec. 22, 2022, ECF No. 257,

  Defendants hereby notify the Court that counsel for the parties have conferred about

  a time on DECEMBER 30, 2022, at which a video-conference hearing on the motion

  can occur. Counsel for the parties are available in the morning and jointly propose

  9:30am, or another time convenient for the Court.


  Dated: December 23, 2022                  Respectfully submitted,

  BRIAN M. BOYNTON                          /s/ Amy. E. Powell
  Principal Deputy Assistant Attorney       ANDREW E. CARMICHAEL
  General                                   AMY E. POWELL
                                            Senior Trial Counsel
  ALEXANDER K. HAAS                         MICHAEL P. CLENDENEN
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